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THE LAW FIRM OF                                                                            The District

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July 30, 2024

Via ECF

The Honorable LaShann DeArcy Hall
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                           Re: United States v. Jordan, et al., 20 Cr. 305 (LDH)

Dear Judge DeArcy Hall,

I write to confirm that trial in this matter is not going forward on January 27, 2025, and to
respectfully request that the Court revert to the originally scheduled trial date of January 26,
2026 1. The government consents to adjourning the January 27, 2025, trial date.

On January 11, 2024, the Court scheduled Mr. Bryant’s trial for January 26, 2026. At the next
conference in this matter, on April 4, 2024, the Court moved up Mr. Bryant’s trial date a year to
January 27, 2025. During that conference the Court acknowledged that by scheduling Mr.
Bryant’s trial for January 27, 2025, it was double-booking both the Court and the undersigned
because trial for my client Jose Castellano in United States v. Cruz Mateo, et al., 18 Cr. 139
(LDH), had previously been scheduled to commence on January 27, 2025. At that conference,
the Court confirmed that Mr. Castellano’s trial had precedence over Mr. Bryant’s trial.

I just concluded a nine-week trial in United States v. Menendez, et al., 23 Cr. 490 (SHS), and
following post-trial motions that are due by August 19, 2024, I intend to take a vacation prior to
preparing for trial in the Cruz Mateo matter. The Court has set a schedule in which pretrial
motions are due in early September and motions in limine and other pretrial filings are due in




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 We understand from the government that the Court has scheduled a different trial for our originally scheduled trial
date of January 26, 2026. If our original date is no longer available, we then request a trial date be set in September
2025, or a later date in 2026.
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early and mid-December 2024. Because it is not possible for me to prepare to try two federal
murder cases at the same time, we write to confirm that Mr. Bryant’s trial will not be proceeding
in January 2025, and to request that the Court revert to the prior trial date or set a new trial date
in September 2025 or later in 2026.


Respectfully submitted,

       /s/

César de Castro


cc: All Parties (via ECF)




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